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                                                                             1   J. BRUCE ALVERSON, ESQ.
                                                                                 Nevada Bar No. 1339
                                                                             2   KARIE N. WILSON, ESQ.
                                                                                 Nevada Bar No. 7957
                                                                             3   ALVERSON TAYLOR
                                                                                 MORTENSEN & SANDERS
                                                                             4   6605 Grand Montecito Pkwy, Ste. 200
                                                                                 Las Vegas, NV 89149
                                                                             5   702-384-7000 Phone
                                                                                 702-385-7000 Fax
                                                                             6   Attorneys for Defendants

                                                                             7                                UNITED STATES DISTRICT COURT

                                                                             8                                 FOR THE DISTRICT OF NEVADA

                                                                             9   JIMMY PETERSON, individually, and as                    CASE NO: 2:17-cv-01860-JCM-CWH
ALVERSON, TAYLOR, MORTENSEN & SANDERS




                                                                                 Guardian ad Litem for CHARLOTTE-MARIE-
                                                                            10   SMITH-PETERSON, a minor,                                DEFENDANT NEW PRIME, INC.’S
                                                                                                                                         ANSWER TO PLAINTIFFS’
                                                                            11                                 Plaintiffs,               COMPLAINT
                                        6605 GRAND MONTECITO PKWY STE 200




                                                                            12   v.                                                      JURY DEMAND
                                                LAS VEGAS, NV 89149




                                                                                 TELICIA DA’SHANEE HALL, an individual;
                                                    (702) 384-7000




                                                                            13
                                                      LAWYERS




                                                                                 NEW PRIME, INC., a Foreign Corporation; and
                                                                            14   DOES I through X, inclusive

                                                                            15                           Defendants.
                                                                                 __________________________________________
                                                                            16

                                                                            17          COMES NOW Defendant NEW PRIME, INC., by and through its counsel of record, the

                                                                            18   law firm of ALVERSON, TAYLOR, MORTENSEN & SANDERS, and answering Plaintiffs’

                                                                            19   Complaint on file herein admits, denies and alleges as follows:

                                                                            20          1.      Answering Paragraph I of Plaintiffs’ Complaint, Defendant is without sufficient

                                                                            21   knowledge to form a belief as to the truth or falsity of the allegations contained in said Paragraph

                                                                            22   and therefore denies the same.

                                                                            23   ...

                                                                            24   ...
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                                                                             1          2.      Answering Paragraph II of Plaintiffs’ Complaint, Defendant is without sufficient

                                                                             2   knowledge to form a belief as to the truth or falsity of the allegations contained in said Paragraph

                                                                             3   and therefore denies the same.

                                                                             4          3.      Answering Paragraph III of Plaintiffs’ Complaint, upon information and belief,

                                                                             5   Defendant admits the allegations contained in said Paragraph.

                                                                             6          4.      Answering Paragraph IV of Plaintiffs’ Complaint, Defendant admits the

                                                                             7   allegations contained in said Paragraph.

                                                                             8          5.      Answering Paragraph V of Plaintiffs’ Complaint, Defendant is without sufficient

                                                                             9   knowledge to form a belief as to the truth or falsity of the allegations contained in said Paragraph
ALVERSON, TAYLOR, MORTENSEN & SANDERS




                                                                            10   and therefore denies the same.

                                                                            11          6.      Answering Paragraph VI of Plaintiffs’ Complaint, Defendant is without sufficient
                                        6605 GRAND MONTECITO PKWY STE 200




                                                                            12   knowledge to form a belief as to the truth or falsity of the allegations contained in said Paragraph
                                                LAS VEGAS, NV 89149
                                                    (702) 384-7000




                                                                            13   and therefore denies the same.
                                                      LAWYERS




                                                                            14          7.      Answering Paragraph VII of Plaintiffs’ Complaint, Defendant denies that

                                                                            15   Defendant Hall was negligent per se, and further denies that Defendant Hall was negligent.

                                                                            16   Defendant is without sufficient knowledge to form a belief as to the truth or falsity of the

                                                                            17   remaining allegations contained in said Paragraph and therefore denies the same.

                                                                            18          8.      Answering Paragraph VIII of Plaintiffs’ Complaint, upon information and belief,

                                                                            19   Defendant admits the allegations contained in said Paragraph.

                                                                            20          9.      Answering Paragraph IX of Plaintiffs’ Complaint, said Paragraph calls for a legal

                                                                            21   conclusion which Defendant can neither admit nor deny. To the extent said Paragraph contains

                                                                            22   factual allegations, Defendant denies each and every allegation contained in said Paragraph.

                                                                            23          10.     Answering Paragraph X of Plaintiffs’ Complaint, Defendant denies each and

                                                                            24   every allegation contained in said Paragraph.
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                                                                             1          11.     Answering Paragraph XI of Plaintiffs’ Complaint, Defendant denies each and

                                                                             2   every allegation contained in said Paragraph.

                                                                             3          12.     Answering Paragraph XII of Plaintiffs’ Complaint, Defendant denies each and

                                                                             4   every allegation contained in said Paragraph.

                                                                             5                                       CLAIMS FOR RELIEF

                                                                             6          Defendant denies that Plaintiffs are entitled to any of the requested relief as contained

                                                                             7   within Plaintiffs’ Complaint.

                                                                             8                                        GENERAL DENIAL

                                                                             9          Defendant denies each and every allegation contained in Plaintiffs’ Complaint that is not
ALVERSON, TAYLOR, MORTENSEN & SANDERS




                                                                            10   specifically admitted to be true.

                                                                            11                                   FIRST AFFIRMATIVE DEFENSE
                                        6605 GRAND MONTECITO PKWY STE 200




                                                                            12          Defendant alleges that Plaintiffs’ Complaint on file herein fails to state a claim upon
                                                LAS VEGAS, NV 89149
                                                    (702) 384-7000




                                                                            13   which relief can be granted.
                                                      LAWYERS




                                                                            14                                  SECOND AFFIRMATIVE DEFENSE

                                                                            15          Defendant alleges that the damages, if any, were caused in whole or in part, or were

                                                                            16   contributed to by reason of the negligence or wrongful conduct of Plaintiffs.

                                                                            17                                   THIRD AFFIRMATIVE DEFENSE

                                                                            18          All risks and dangers involved in the factual situation described in the Complaint were

                                                                            19   open, obvious, and known to Plaintiffs and said Plaintiffs voluntarily assumed said risks and

                                                                            20   dangers.

                                                                            21                                  FOURTH AFFIRMATIVE DEFENSE

                                                                            22          The incident alleged in the Complaint and the resulting damages, if any, to Plaintiffs were

                                                                            23   proximately caused or contributed to by Plaintiffs’ own negligence, and such negligence was

                                                                            24   greater than the alleged negligence of Defendants.
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                                                                             1                                 FIFTH AFFIRMATIVE DEFENSE

                                                                             2          Defendant alleges that the occurrence referred to in the Complaint, and all injuries and

                                                                             3   damages, if any, resulting therefrom, which Defendant denies, were caused by the acts or

                                                                             4   omissions of a third party over whom Defendant had no control.

                                                                             5                                 SIXTH AFFIRMATIVE DEFENSE

                                                                             6          Defendant has fully performed and discharged all obligations owed to Plaintiffs,

                                                                             7   including meeting the requisite standard of care to which Plaintiffs were entitled.

                                                                             8                               SEVENTH AFFIRMATIVE DEFENSE

                                                                             9          If Plaintiffs have sustained any injuries or damages, which Defendant denies, such were
ALVERSON, TAYLOR, MORTENSEN & SANDERS




                                                                            10   the result of intervening and/or superseding events, factors, occurrences, or conditions, which

                                                                            11   were in no way caused by Defendants, and for which Defendants are not liable.
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                                                                            12                                EIGHTH AFFIRMATIVE DEFENSE
                                                LAS VEGAS, NV 89149
                                                    (702) 384-7000




                                                                            13          Defendant alleges that Plaintiffs had a duty to mitigate their alleged damages and failed
                                                      LAWYERS




                                                                            14   to do so.

                                                                            15                                 NINTH AFFIRMATIVE DEFENSE

                                                                            16          Plaintiffs’ claims are barred by the applicable statutes of limitations and/or repose.

                                                                            17                                 TENTH AFFIRMATIVE DEFENSE

                                                                            18          Defendant alleges that if it is found negligent, and Defendant denies all allegations of

                                                                            19   negligence, that it is not jointly liable and would be only severally liable for the portion of the

                                                                            20   claim that represents the percentage of negligence attributable to it.

                                                                            21   ...

                                                                            22   ...

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                                                                             1                              ELEVENTH AFFIRMATIVE DEFENSE

                                                                             2          All possible affirmative defenses may not have been alleged herein insofar as insufficient

                                                                             3   facts were not available after reasonable inquiry upon the filing of Defendant’s Answer and

                                                                             4   Defendant therefore reserves the right to amend this Answer to allege additional affirmative

                                                                             5   defenses if subsequent investigation warrants.

                                                                             6                                            JURY DEMAND

                                                                             7          Defendant hereby demands a full trial by jury on all issues in this matter.

                                                                             8          WHEREFORE, Defendant prays for relief as follows:

                                                                             9          1.      That Plaintiffs take nothing by way of their Complaint on file herein;
ALVERSON, TAYLOR, MORTENSEN & SANDERS




                                                                            10          2.      For reasonable attorneys’ fees and costs incurred in defending this litigation; and

                                                                            11          3.      For such other and further relief as this Court may deem just and proper.
                                        6605 GRAND MONTECITO PKWY STE 200




                                                                            12          Dated this 13th day of July, 2017.
                                                LAS VEGAS, NV 89149
                                                    (702) 384-7000




                                                                            13                                                         ALVERSON, TAYLOR
                                                      LAWYERS




                                                                                                                                       MORTENSEN & SANDERS
                                                                            14

                                                                            15                                                         ____________________________________
                                                                                                                                       J. BRUCE ALVERSON, ESQ.
                                                                            16                                                         Nevada Bar No. 1339
                                                                                                                                       KARIE N. WILSON, ESQ.
                                                                            17                                                         Nevada Bar No. 7957
                                                                                                                                       6605 Grand Montecito Pkwy, Ste. 200
                                                                            18                                                         Las Vegas, NV 89149
                                                                                                                                       702-384-7000 Phone
                                                                            19                                                         702-385-7000 Fax
                                                                                                                                       Attorneys for Defendants
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                                                                             1                                    CERTIFICATE OF ELECTRONIC SERVICE

                                                                             2             I certify that on the 13th day of July, 2017, service of the above and foregoing

                                                                             3   DEFENDANT NEW PRIME, INC.’S ANSWER TO PLAINTIFFS’ COMPLAINT was

                                                                             4   made by electronically filing a true and correct copy of the same to each party addressed as

                                                                             5   follows:

                                                                             6   Steven M. Burris, Esq.
                                                                                 sb@steveburrislaw.com
                                                                             7   Samuel B. Benham, Esq.
                                                                                 samb@steveburrislaw.com
                                                                             8   LAW OFFICES OF STEVEN M. BURRIS
                                                                                 2810 W. Charleston Blvd., Ste. F-58
                                                                             9   Las Vegas, NV 89102
ALVERSON, TAYLOR, MORTENSEN & SANDERS




                                                                                 702-258-6238 Phone
                                                                            10   702-258-8280 Fax
                                                                                 Attorneys for Plaintiffs
                                                                            11
                                        6605 GRAND MONTECITO PKWY STE 200




                                                                            12                                                                     ____________________________________
                                                LAS VEGAS, NV 89149




                                                                                                                                                   Employee of ALVERSON, TAYLOR
                                                    (702) 384-7000




                                                                            13                                                                     MORTENSEN & SANDERS
                                                      LAWYERS




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